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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


United States of America,                            Crim. No. 19-281(1) (SRN/BRT)

                       Plaintiff,

v.                                                             ORDER

Jose Martin Morales,

                       Defendant.


      The above matter comes before the Court upon the Report and Recommendation

of United States Magistrate Judge Becky R. Thorson dated March 4, 2020. No objections

have been filed to that Report and Recommendation in the time period permitted. Based

on the Report and Recommendation of the Magistrate Judge, on all of the files, records,

and proceedings herein, the Court now makes and enters the following Order.

      IT IS HEREBY ORDERED that:

      1.     Defendant’s Motion to Dismiss Indictment [Doc. No. 23] is DENIED;

      2.     Defendant’s Motion for Bill of Particulars [Doc. No. 24] is DENIED.



Date: July 17, 2020                             s/Susan Richard Nelson
                                                SUSAN RICHARD NELSON
                                                United States District Judge
